  Case 19-30477                Doc 17      Filed 06/17/19 Entered 06/17/19 13:58:03      Desc Main
                                              Document Page 1 of 1
     FILED & JUDGMENT ENTERED
               Steven T. Salata




           June 17 2019


       Clerk, U.S. Bankruptcy Court
      Western District of North Carolina
                                                                          _____________________________
                                                                                   J. Craig Whitley
                                                                            United States Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF NORTH CAROLINA
                                         CHARLOTTE DIVISION

IN RE:
                                                                 Case No. 19-30477-JCW
SEAN AVERY PERKINS AND                                                 Chapter 7
KIMBERLY ANN PERKINS

                                    Debtors

      ORDER APPROVING EX PARTE APPLICATION TO EMPLOY ACCOUNTANT

       Upon the application of A. Burton Shuford, Trustee, praying for approval of his
employment of Edward P. Bowers to perform accounting services for him as Trustee for the
above shown Debtors and upon the affidavit of said Edward P. Bowers, and it appearing that
Edward P. Bowers is a certified public accountant duly admitted to practice in the State of North
Carolina, and the court being satisfied that Edward P. Bowers represents no interest adverse to
the Debtors or Debtors’ estate, in the matters upon which he is to be engaged, that his
employment is necessary and would be to the best interest of the estate, it is,

        ORDERED that the employment by A. Burton Shuford, Trustee, of Edward P. Bowers on
the terms stated in the application, in the within proceeding, under Chapter 7 of the Bankruptcy
Code, is approved.

This Order has been signed electronically.                           United States Bankruptcy Court.
The judge’s signature and Court’s seal
appear at the top of the Order.
